        Case 1:07-cr-00046-CG-C Document 219 Filed 01/19/10 Page 1 of 1                                           PageID #: 977
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Southern District of Alabama

                    United States of America                         )
                               v.                                    )
                                                                     )   Case No: 07-00046
                      Maurice Marcell Carter
                                                                     )   USM No: 09737-003
Date of Previous Judgment: May 20, 2008                              )   Cindy W. Powell
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of U the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       U DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of            months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                  Amended Offense Level:
Criminal History Category:               Criminal History Category:
Previous Guideline Range:  to    months  Amended Guideline Range:                                                        to   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
’ The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS
       The defendant was sentenced under the amended guideline, and is not entitled to a further reduction.



Except as provided above, all provisions of the judgment dated 5/20/08                      shall remain in effect.
IT IS SO ORDERED.

Order Date:         January 19, 2010                                                       /s/ Callie V. S. Granade
                                                                                                  Judge’s signature


Effective Date:                                                                      Chief United States District Judge
                     (if different from order date)                                             Printed name and title
